     Case: 1:20-cv-02626 Document #: 9 Filed: 04/30/20 Page 1 of 2 PageID #:206




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ABC CORPORATION,
                                                       Case No. 20-cv-02626
                        Plaintiff,

       v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


              PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

       Plaintiff ABC Corporation (“Plaintiff”) files this Motion requesting leave to file the

following documents under seal: (1) Exhibit 1 to the Complaint; (2) Plaintiff’s Amended

Complaint which will identify and include additional allegations regarding Plaintiff and list the

fully interactive, e-commerce stores operating under the seller aliases identified in Schedule A

(collectively, the “Seller Aliases”), and accompanying exhibits; (3) Schedule A attached to the

Complaint and Amended Complaint, which includes a list of the Seller Aliases and the e-

commerce store urls under the Online Marketplaces; (4) Plaintiff’s Motion for Entry of a

Temporary Restraining Order, including a Temporary Injunction, a Temporary Asset Restraint,

and Expedited Discovery, and accompanying supporting memorandum, declarations, and

exhibits, including screenshot printouts showing the e-commerce stores operating under the

Seller Aliases; (5) Plaintiff’s Motion for Electronic Service of Process Pursuant to Fed. R. Civ.

P. 4(f)(3), and accompanying supporting memorandum, declaration, and exhibits; (6) Plaintiff’s

Notification of Affiliates; and (7) Plaintiff’s Notice of Claims Involving Trademarks.
     Case: 1:20-cv-02626 Document #: 9 Filed: 04/30/20 Page 2 of 2 PageID #:207




       In this action, Plaintiff is requesting temporary ex parte relief based on an action for

trademark infringement, counterfeiting, and false designation of origin. Sealing this portion of

the file is necessary to prevent the Defendants from learning of these proceedings prior to the

execution of the temporary restraining order. If Defendants were to learn of these proceedings

prematurely, the likely result would be the destruction of relevant documentary evidence and the

hiding or transferring of assets to foreign jurisdictions, which would frustrate the purpose of the

underlying law and would interfere with this Court’s power to grant relief. Once the temporary

restraining order has been served on the relevant parties and the requested actions are taken,

Plaintiff will move to unseal these documents.

Dated this 30th day of April 2020.           Respectfully submitted,


                                             /s/ Justin R. Gaudio
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             RiKaleigh C. Johnson
                                             Jake M. Christensen
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080
                                             312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             rjohnson@gbc.law
                                             jchristensen@gbc.law

                                             Counsel for Plaintiff




                                                 2
